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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
  UNITED STATES, et al.,                       )
                                               )
                        Plaintiffs,            )
         v.                                    )       No. 1:23-cv-00108-LMB-JFA
                                               )
  GOOGLE LLC,                                  )
                                               )
                        Defendant.             )



                PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL

         Pursuant to Local Civil Rule 5(C), and the Protective Order (ECF No. 98 and Modified

  Protective Order, ECF No. 203), Plaintiffs, through their undersigned counsel, hereby

  respectfully move this Court to seal portions of and some exhibits to their Sur-Reply In Response

  to Google’s Motion to Strike Jury Demand and to Dismiss. The redacted portions contain

  material that Google or a third party has designated as highly confidential or Confidential.

  Consistent with the local rule and this Court’s Electronic Case Filing Policies and Procedures,

  undersigned counsel have filed the materials at issue using the sealed filing event on CM/ECF

  and hereby certify that they will serve a copy on opposing counsel and deliver a copy to this

  Court in a separate container labeled “UNDER SEAL.” The grounds for this motion are

  contained in the memorandum of law concurrently filed in support of this motion. A proposed

  order is attached for the Court’s convenience.
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  Dated: June 5, 2024



  Respectfully submitted,

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